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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       HAROLD DAVIS,                                    Case No. 19-cv-07650-HSG (TSH)
                                   8                    Plaintiff,
                                                                                            DISCOVERY ORDER
                                   9              v.
                                                                                            Re: Dkt. No. 78
                                  10       PINTEREST, INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13           Plaintiff Harold Davis has sued Defendant Pinterest, Inc., for copyright infringement. ECF

                                  14   No. 56 (Second Amended Complaint).1 He alleges that Pinterest’s business model depends on the

                                  15   constant pinning of images by users, which Pinterest monetizes to generate advertising revenues.

                                  16   He alleges that Pinterest does not have in place a system for screening the pinned images for

                                  17   copyright notices or other indicia of copyright ownership associated with the images. Indeed,

                                  18   Davis claims that Pinterest deliberately removes indicia of copyright ownership to render its paid

                                  19   advertisements more effective. He alleges that this conduct led Pinterest to infringe his registered

                                  20   works. Davis now seeks to depose Pinterest’s co-founder and CEO Ben Silbermann; its current

                                  21   head of engineering, Jeremy King; its former COO, Francoise Brougher; and its former head of

                                  22   engineering, Li Fan. Pinterest has moved for protective order, citing the apex doctrine. Pinterest

                                  23   argues that these current and former high-level executives lack unique knowledge of relevant

                                  24   facts, and that Davis has failed to exhaust alternative means to obtain the information sought.

                                  25           The Court grants Pinterest’s motion. On the record currently before the Court, there is no

                                  26   justification for these apex depositions. Indeed, these deposition notices look like the classic case

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                                        Judge Gilliam dismissed Davis’s second claim for relief for contributory copyright infringement.
                                       ECF No. 75.
                                          Case 4:19-cv-07650-HSG Document 87 Filed 05/27/21 Page 2 of 2




                                   1   of what the apex doctrine is designed to prevent: trying to give outsized importance to a run-of-

                                   2   the-mill lawsuit by dragging in high-level executives, when these executives aren’t going to know

                                   3   anything more than what many people within the company can undoubtedly testify to.

                                   4   Depositions of witnesses at this level in the company who have no unique knowledge of the facts

                                   5   are an undue burden for the company, the witnesses, and counsel, and that is no less true for the

                                   6   two former executives who are no longer at Pinterest because those depositions will have outsized

                                   7   importance to the company as well. Indeed, the Court can’t shake the feeling that these witnesses

                                   8   were chosen because these depositions would be burdensome, inconvenient, and highly visible to

                                   9   the company. The Court is also not persuaded that Silbermann’s deposition is warranted by the

                                  10   fact that he forwarded an unsolicited email from the Plaintiff and asked someone else to deal with

                                  11   it. Accordingly, the Court grants Pinterest’s motion for a protective order and quashes the

                                  12   depositions of Silbermann, King, Brougher and Fan. This order is without prejudice to Plaintiff
Northern District of California
 United States District Court




                                  13   later filing a motion to take one or more of these depositions after having exhausted less intrusive

                                  14   methods of discovery and demonstrating that the witnesses have unique, non-repetitive knowledge

                                  15   of the facts of the case.

                                  16           IT IS SO ORDERED.

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                                  18   Dated: May 27, 2021

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                                                                                                    THOMAS S. HIXSON
                                  20                                                                United States Magistrate Judge
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